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                  IN THE UNITED STATES DISTRICT COURT 

                   FOR THE SOUTHERN DISTRICT OF TEXAS 

                            HOUSTON DIVISION 


GEORGE O. RILEY and TRENA                 §
LEEANN RILEY,                             §
                                          §
                 Plaintiffs,              §
                                          §
VS.                                       §    CIVIL ACTION NO. H-13 0608
                                          §
WELLS FARGO BANK, N.A.,                   §
CRESTMARK MORTGAGE CO., LTD.,             §
and BARRETT DAFFIN FRAPPIER               §
TURNER and ENGEL, LLP,                    §
                                          §
                 Defendants.              §

                                     ORDER

            Pending before the Court in the above referenced action

is now pro se Plaintiffs George O. Riley and Trena Leeann Riley's

motion for new trial [and] motion to amend dismissal pursuant to

Federal Rule of Civil Procedure 59, and,                 alternatively,        Federal

Rule of Civil Procedure 60           (instrument #34)          and United States

Magistrate Judge Frances Stacy's memorandum and recommendation

(#34) that the motion be denied.

            Plaintiffs     have     not       filed    any    objections       to   the

memorandum and order.       Defendant Daffin Frappier Turner & Engel,

L.L.P.    objects   that   Plainti        s   are     currently      represented     by

council and their pro se motion should be stricken because it

violates Federal Rule of Civil Procedure 11 and Local Rule 11.1

As for Rule 59, Plaintiffs fail to demonstrate a manifest error of

law or fact     or present     newly discovered evidence,                  but merely

improperly rehash      their   previous         arguments.          #30.     Defendant

Crestmark Mortgage       Company,    Ltd.       objects      also    to    Plaintiffs'

improper rehashing of previous arguments under Rule 59.



          1 Plaintiffs argue that they can and have dismissed
their attorney.  #33.
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                Findings of the Magistrate Judge in a memorandum and

recommendation to which no specific objections are made require

the Court only to decide whether the memorandum and recommendation

is clea        y erroneous or contrary to law.                  Id. ,     ting    u.s.   v.

Wilson,       864 F.2d 1219, 1221          (5 th Cir. 1989).      The district court

"may accept, reject, or modify, in whole or                       part, the findings

or recommendations made by the magistrate judge."                          28 U.S.C.       §

636 (b) (1) (C).

                Plaintiffs       counsel    is    required to move       for     leave to

withdraw, but has not done so.                   Regardless, the Magistrate Judge

notes               the Rileys' claims were fully considered on the merits

in her memorandum and recommendations of November 21, 2012, that

this        Court    overruled    obj ections      made    to   that    memorandum       and

recommendation by Plaintiffs' counsel, and that this Court adopted

the memorandum and recommendation as                      s own and denied the three

motions to dismiss that it addressed.                 Now in their motion for new

t      1,      aintiffs seek to relitigate                      aims pro se, complain

that          ir attorney was incompetent, and assert new and untimely

objections to the November 21, 2013 memorandum and recommendation.

                This Court finds that the Magistrate Judge correctly

summari             the applicable law and properly applied it to the facts

here.        Accordingly, the Court

                ADOPTS the memorandum and recommendation as its own and

                ORDERS that Plaintiffs' motion                   new trial is DENIED.

                SIGNED at Houston, Texas, this:B                ~ day   of June, 2014.



                                                     ~w
                                                          MELINDA HARMON
                                                   UNITED STATES DISTRICT JUDGE



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